                    Case 3:02-cr-00214-PAD                  Document 724             Filed 06/02/06       Page 1 of 5
 qAO 2458     (Rev.06/05)Judgmentin a C.iminalCase
              SheetI



                                     Uureo SrarBsDrsrnrcrCounr
                       FOR THE                                 Districtof
        LTNTIEDSTATESOFAMERICA                                         JUDGMENT IN A CRIMINAL CASE
                   V.
       SUSONI VELE'ZDE CARLO, JR.
           A/I?A'EL VETERANO"                                          CaseNumber:                    o2-cR-214
                                                                                                              (02)(SEC)
                   'SUSO"
              .AVIK/A                                                  USM Number:                     52863-066
              A/K/A "SONY"

THE DEFENDAIIT:
X pleadedguilty to count(s)       ONE of                Indictment on March
E pleaded nolo contendere to count(s)
  which was accepted by the corut.

D was fou:rd guilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section               Nature of Offense                                                       Offense End€d            Count
2l:846                        Conspiracy to possesswith intent to distribute at least thrce point         2/28/00                I
                              five (3.5) but lessthan frve (5) kilograms ofcocaine.




      The defendant is sentenced as provided in pages 2 tbrough                      of this judgment. The sentenceis imposed pursuant to
the SentencingReform Act of 1984.

E The defendant has beon found not guilty on coult(s)

X Count(s)             rerxurung                     E is      X are dismissed
                                                                             on themotionofthe UnitedStates.
       It is orderedthal the defendantmust notify fie United Statesahomey for this district-within 30 days
                                                                                                      "n ofaly.c^hangeofname. residence.
ormailineaddress  untilallhnes.restituti.on..
                                         costs. 6ndspeciat assiii,ninGi*6oiio ii ih;;jftd."r #          irj,pu,o.rr oroereo
                                                                                                                          ropayresrrturron,
thedefen-<lantmustnotifl,thecourtandUnitedSiateiiftom-y;tt*l;;i;, cnanges       rneconomrc    crcrxns1ances.

                                                                      06/02/06
                                                                      Dut" of l-p



                                                                      si5"&.r.-6. e^""il"-
                                                                      Signature
                                                                              ofJudge




                                                                      S.ALVADQRE- QASELLAS.U.S. DISTRICTruDGE
                                                                      Name and Title ofJudge



                                                                      06/02t06
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                              rn CnminalCase
           Sheet2 -

                                                                                                  Judgment-   Page   2   of
 DEFENDANT:                  SUSOM VELEZ-DE-CARLO
 CASENUMBER:                 02-cR-214(2XSEC)


                                                            IMPRISONMENT
            The defendantis hereby committed to the custody ofthe United StatesBureau ofprisons
                                                                                                to be imprisonedfor a
total term of:


                                                            srxTY (60)MONTHS


      X    The court makes the following recommendations to the Bureau ofprisotx:
           1. That defendantserveshis term of imprisonmentin MDC-GUAyNABO,
           2. Court strongly recommendsthat defendantbe affordedwith psychologicalor psychiatrictreatment.


     X     The defendart is remanded to the custody of the United States Marshal.


      tr   The defendant shall surrender to the United States Marshal for this district:

           E    a                              n     a.m.    !   p.-.        on
           !        asnotifredby the Unitod StatesMarshal.

     tr    The defendant
                       shallsurrender
                                    for serviceofsentenceat theinstihrtiondesignated
                                                                                   by theBureauofprisons:
           tr    before2 p.rn

           !     as notified by the United StatesMarshal.

           tr    as notified by the Probation or Pretrial ServicesOffrce.



                                                                 RETURN
I have executedthisjudgment as fouows:




           Defendantdelivered

                                                   . with a certifiedcopy ofthisjudgment.




                                                                                               UNITED STATES MARSHAI-



                                                                        By
                                                                                            DEPUTYL]NITEDSTATESMARSHAL
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AO 2458        (Rev.06/05)Judgmentin a CriminalCase
               Sheet3 - SuoervisedRelease

                                                                                                            Judgment-Page      I     of
DEFENDANT:                     SUSONIVELEZ-DE-CARLO
CASENUMBER:                    02-CR-214(2)(SEC)
                                                           SUPERVISEDRELEASE
Upon release ftom irqrrisonment, the defendant shall be on supervised release for a term of :


                                                                 FIVE (5) YEARS


     The defendant muslrePort to th€ probation office in the district to which the defendant is released within 72 hours ofrelease from the
custodv ofthe Bureau ofPrisons.
The defendantshall not cormit anotherfederal, stateor local crime.
The defendllt shall not unJawfullypossessa controlled subslance.The defendantshall refrain fiom any unlau.tirl useofa controlled
substance. I he deteDdanlshall suhnxt 10one drug test \tr'lthh l5 days of releasefrom irnprisonmentana al leasttwo periodic drug tests
thereaffer, as determined by the court.

tr        The above drug testing condition is suspended,based on the court's determination that the defendant Dosesa low dsk of
          future substanceabuse. (Check, if applicable.)

X         The defendant shall not possessa f[earm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X         The defendant shall cooperate in the collection of DNA as directed by the probation offrcer. (Check, if applicable.)

E         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student,as dtected by the probation oflicer. (Check, if applicable.)

E         The defendantshall participatein an approvedprogram for domesticviolence. (Check, if applicable.)

^,  Ifthisjgdgment imposes?.fne or restitution,it is a condition of supervisedreleasethat the defendantpay in accordancewith the
Dcnequteor ravmenls sneetol tn$ tuosment.

    , the defendant must comply with L          standard conditions that have been adopted by this court as well as wrth any addrtional conditions
on t1reattached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     l)    the defendant shall not leave the judicial district without the permission ofthe court or probation officcr;
     2)    the defendant shall report to the probation officer and shall submit a truthfrrl and complete wdtten report within the lust five days of
           each month:
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instmctions ofthe probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendantshall work regularly at a lawful occupation,unless excusedby the probation oflicer for schooling,taining, or other
           acceDtztble
                     reasons:
     6)    the defendant shall noti$ the probation officer at least ten days pdor to any change in residence or emplo)rynenq
     7)    the defendantshall refrain fiom excessiveuseofalcohol and shall not purchase.oossess.use. distribute.or admidster anv
           controlled substanceor any paraphernaliarelatedto any controlled subsmnces,eicept as prescribedby a physician;
     8)    the defendautshall not ftequentplaceswhere controlled substancesare illegally sold, used, distributed,or administered;
     9)    the defendantshall not associalewith.any personsengagedin-criminal activiry and shall not associatewith any personconvictedofa
           Ierony, unlessgranredperrrussronto do so by the probatlon o lcer;
 l0)       the defendantshall permit a probation offrcer to visit him or her at any time at home or elsewhereand shall permit confiscationofany
           con$abandobservedin plain view of the Drobationoflicer:
 I l)      the defendart shall notify the probation officer wlthln seventy-twohours ofberng arest€d or questionedby a lavr'enforcementofficer;
 12)       the deferdant shall not enter into any agreementto act as an informel or a special agent of a law enforcementagency without the
           Derr ssronoI Ine coun: ano
 I 3)      as directedby the probation officer, the defendantshall norify trird panies of risk that may be occasionedbv the defendant'scriminal
           record.or Personal.hjstory or characteristicsand shall penirit the probation officer to make such notificitions and to confirm the
           oelenoants comDllancewrtn such notltlcatlon reourrement.
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          Sheet3A Supervised  Release

                                                                             Judgmenr-Page___l_   of
DEFENDANT:             SUSONIVELEZ-DE.CARLO
CASENUMBER:            02-CR-214(2)(SEC)

                                ADDITIONAL       SUPERVISED RELEASE TERMS

1. Thedefendantshallnot commitanotherFederal,state,or localcrime,andshallobservethe standard
                                                                                           conditions
of supervised
            releaserecommended by theUnitedStatesSentencing   Commissionandadoptedby this Court.

2. Thedefendantshallnot unlawfullypossess
                                        controlledsubstances.

3. Thedefendantshallrefrainfrom possessing
                                         firearms,destructivedevices,andotherdangerous
                                                                                     weapons.

4. Thedefendantshallrefrainfiom theunlawfuluseof controlledsubstances       andsubmitto a drugtestwithin
fifteen(15) daysofrelease;thereafter,submitto randomdrugtest,not to exceed104samplesperyearin
accordance with theDrug AftercareProgramPolicyof theU.S.ProbationOffice approvedby this Court. If any
suchsamplesdetectsubstance  abuse,thedefendantshallparticipatein a drugtreatmentprogram(in-patientor
out-patien|in accordancewith suchpolicy. Thedefendant    is requiredto contributeto the costof services
rendered(co-payment) basedon the ability to pay or availabilityofthird partypayments,asapprovedby the
court.

5. ThedefendantshallprovidetheU.S.ProbationOfficeraccessto anyfinancialinformationuponrequest.

6. The defendantshallparticipatein a mentalhealthprogramarrangedandapprovedby theU.S.ProbationOfficer
until duly discharged
                    by authorizedprogrampersonnelwith the approvalof theU.S.ProbationOffrcer.

7. The defendantshallsubmithis percon,residence,
                                               office or vehicleto a search,conducted
                                                                                    by a U.S.Probation
Officerat a reasonabletime andin a reasonable
                                            manner,baseduponreasonable    suspicionof contmband  or
evidenceofa violationofconditionofrelease;failureto submitto a se.rchmay be groundsfor revocation;the
defendantshallwam anyotherresidentsthatthepremisesmay be subjectto searches    pursuantto this condition.

8. Thedefendantshallcooperate
                            in thethecollectionof a DNA sampleasdirectedby theU.S.ProbationOfficer,
pursuantto theRevisedDNA CollectionRequirements, andTitle 18,U.S. Code3563(a)(9).
AO 2458                Case
              tRev.06/05)
                        Judgmenr3:02-cr-00214-PAD
                                  in a CriminalCase              Document 724                    Filed 06/02/06     Page 5 of 5
              Sheet5 - Criminal Monetarypenalties

                                                                                                             Judsment- Pase     5      nf      5
    DEFENDANT:                      SUSONIVELEZ-DE-CARLO
    CASENI.]MBER:                   02-cR-214
                                            (2XSEC)
                                          CRIMINAL MONETARY PENALTIES
        The defendant must pay the total cdminal monetary penalties under the schedule ofpal.rnents
                                                                                                               on Sheet 6.

                       Assessment                                            Fine                                 R€stitution
    TOTALS           $ 100.00                                               $ 0                                 $ 0


    E   The determinationofrestitution is deferreduntil                     Att Amended Judgment in e Criminol Case(AO 245C\ will be entered
        after such determination.

    E   The defendant must make restitution (including commrurity restitution) to the following payees
                                                                                                                in the amount listed below.

                                            -iio;;v;r.
        Ifthe defendantmakesa Dartialpa),ment.each payeeshall receivean approximatelyproportionedpa).rnenr,
                                                                                                          unlessspecifiedotherwisein
                             b"-*t
                   gf;:.,:T1ff
        iX?J#",fry"1i1;i           corunin
                                       6iio*.        puist;;x;18
                                                               Us d.iii6dd;,;ii;;fd;;;ii;.'#;-#;i'b.'i."ili
Name of Pavee                                 Total Loss*                             R€stitutionOrdered                     Priorilv or Percentase




TOTALS


tr      Restitution amount ordered pursuant to plea agreement $

tr      The defendant must pay interest on restitution aud a fine of more than $2,500, unless the restitution or fine is paid in full before
                                                                                                                                             the
        fifteenth day after the date ofthe judgment, purcuantto l8 U.S.C. $ 3612(f). All of the pa).rnentoptions on Sheet6 may be subject
        to penaltiesfor delinquencyand default, pursuantto 1SU.S.C. g 3612(g).

!       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        !   the interest requirement is waived for the       E       fine    E    restitution.

        !   the interest requtement for the     n     fine       n     restitution is modified as follows:


* Findingsfor thetotalamountoflosses_arerequiredunderChaprers
                                                            109A,110.I l0A, andI l3A ofTitle l8 for offenses
                                                                                                           commiftedonor after
Septemb--er13. 1994,but beforeApril 21, 199'6.
